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DAY PITNEY LLP l MAR .. 5 2007
..“,._ W.,.._.._._.__~___ DOREEN KLEIN
CHAMBERS OF TA;IS;n;):/;t?l;g\;
COLLEEN MCMAHON E: DKlein@§)aylzimey.cm

 

March 5, 2007
VIA FACSIIV[[LE (914) 390-4152 AND (212) 805~6326

Honorable Colleen McMahon
United States District Judge

United States Courthouse ¢/\/\_/
500 Pearl Street

 

 

Roorn 640
New York, NY 1007
Re: Um`ted States v. James Marquez
7:06~cr-01138 (CM`)
Dear Judge McMahon:

We are counsel for defendant J ames G. Marquez in this matter. Mr. Marquez is currently
scheduled to be sentenced before the Court on March 19, 2007 at 9:00 a.m.

I am writing to request that Mr. Marquez’s sentencing be adjourned for a 45 day period,
to 'I`hursday, May 3, 2007 or a date thereaher. We request this adjournment in order to finalize
our submissions to the Court.

Mr. Marquez has not made any previous requests for an adjournment of his sentencing
l have spoken with Assistant United States Attorney Margery Feinzig who is in charge of

this prosecution, and she consents to this request Should the Court approve the adjoumment,
both parties are available by telephone at the Court’s convenience to set an adjourn date for

 

 

 

 

 

 

sentencing.
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f)(,)€..‘§'_x§i-;,M~ § Respectfully submitted,
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D:`~'{l`i.; x'~iiei..`l); _ d_____“_'] Doreen Klein (DK-4982)

 

 

ec: AUSA Margery Feinzig (via facsimile and e~mail)

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1‘=(2<>3)97773¢>0 F-' (103) 9771301 w: DAYerNn.co.w

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